OAO 245C (Rev.Case     2:04-cr-20058-RTD
               06/05) Amended                          Document 85
                              Judgment in a Criminal Case                        Filed 08/18/05 Page 1 of 8 PageID
                                                                                                       (NOTE:            #: 1 with Asterisks (*))
                                                                                                              Identify Changes
         Sheet 1


                                            UNITED STATES DISTRICT COURT
                         WESTERN                                        District of                                  ARKANSAS
           UNITED STATES OF AMERICA                                               AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
            MICHAEL RAYMOND JOHNSON                                               Case Number:                   2:04CR20055-001 & 2:04CR20058-001
                                                                                  USM Number:                    07563-010
Date of Original Judgment: June 7, 2005                                           James B. Pierce
(Or Date of Last Amended Judgment)                                                Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                 G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                  G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))             G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                  G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                    G 18 U.S.C. § 3559(c)(7)
                                                                                  X Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) One (1) of each Indictment on November 15, 2004
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended                  Count

18 U.S.C. § 664                      Embezzlement from Employee Benefit Plan in Case #                                12/29/2000                     1
                                     2:04CR20055-001

18 U.S.C. § 1014                     False Statement on a Loan Application in Case #                                  02/28/2002                     1
                                     2:04CR20058-001




         The defendant is sentenced as provided in pages 2 through          8              of this judgment. The sentence is imposed within the
statutory range and the U.S. Sentencing Guidelines were considered as advisory.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is                   G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                  June 7, 2005
                                                                                  Date of Imposition of Judgment

                                                                                  /S/ Robert T. Dawson
                                                                                  Signature of Judge
                                                                                  Honorable Robert T. Dawson, United States District Judge
                                                                                  Name and Title of Judge
                                                                                  August 16, 2005
                                                                                  Date
AO 245C      Case
          (Rev. 06/05) 2:04-cr-20058-RTD               Document 85
                       Amended Judgment in a Criminal Case                   Filed 08/18/05 Page 2 of 8 PageID #: 2
          Sheet 2 — Imprisonment                                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                 Judgment — Page         2     of         8
  DEFENDANT:                 MICHAEL RAYMOND JOHNSON
  CASE NUMBER:               2:04CR20055-001 & 2:04CR20058-001

                                                          IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
   term of:      twenty-one (21) months. This term consists of twenty-one (21) months in Case # 2:04CR20055-001 and
  twenty-one (21) months in Case #2:04CR20058-001, terms to run concurrently, and term to run consecutively with any undischarged
  term of imprisonment with the Arkansas Department of Corrections.




  G The court makes the following recommendations to the Bureau of Prisons:




  X The defendant is remanded to the custody of the United States Marshal.

  G The defendant shall surrender to the United States Marshal for this district:
      G      at                                G a.m.          G p.m.            on                                  .

      G      as notified by the United States Marshal.

  G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      G      before 2 p.m. on                                            .

      G      as notified by the United States Marshal.

      G      as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
  I have executed this judgment as follows:




      Defendant delivered on                                                          to

  a                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
AO 245C         Case
             (Rev. 06/05) 2:04-cr-20058-RTD               Document 85
                          Amended Judgment in a Criminal Case              Filed 08/18/05 Page 3 of 8 PageID #: 3
             Sheet 3 — Supervised Release                                                                   (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page         3      of         8
DEFENDANT:                 MICHAEL RAYMOND JOHNSON
CASE NUMBER:               2:04CR20055-001 & 2:04CR20058-001
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : five (5) years.
This term consists of three (3) years in Case #2:04CR20055-001 and five (5) years in Case #2:04CR20058-001, terms to run concurrently.




        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
G The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
AO 245C       Case
            (Rev. 06/05) 2:04-cr-20058-RTD              Document 85
                         Amended Judgment in a Criminal Case               Filed 08/18/05 Page 4 of 8 PageID #: 4
            Sheet 3C — Supervised Release                                                                    (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment—Page        4      of         8
DEFENDANT:                 MICHAEL RAYMOND JOHNSON
CASE NUMBER:               2:04CR20055-001 & 2:04CR20058-001

                                       SPECIAL CONDITIONS OF SUPERVISION



   1. In addition to the mandatory drug testing requirements, the defendant shall comply with any referral deemed appropriate by the U.S.
Probation Officer for in-patient or out-patient evaluation, treatment, counseling or testing for substance abuse, including urinalysis for testing
purposes.
   2. The defendant shall submit his person, residence, place of employment, and vehicle to a search conducted by the United States
Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of evidence of violation of any condition of
supervised release. The defendant shall warn any other residents that their premises may be subject to search pursuant to this condition.
Failure to submit to a search may be grounds for revocation.
AO 245B   (Rev.Case
                6/05) Amended Judgment in a Criminal Case
                       2:04-cr-20058-RTD               Document 85         Filed 08/18/05 Page 5 of 8 PageID #: 5
          Sheet 5 — Criminal Monetary Penalties

                                                                                                   Judgment — Page     5       of         8
DEFENDANT:                       MICHAEL RAYMOND JOHNSON
CASE NUMBER:                     2:04CR20055-001 & 2:04CR20058-001
                                          CRIMINAL MONETARY PENALTIES
    The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth on
Sheet 6, Part A.
                     Assessment                                     Fine                                 Restitution
TOTALS           $ 100.00                                       $   -0-                               $ 50,377.82


G The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid in
     full prior to the United States receiving payment.

                                                                                                                           Priority Order
                                              *Total                                Amount of                              or Percentage
Name of Payee                              Amount of Loss                      Restitution Ordered                          of Payment
                                                                            In Case # 2:04CR20055-001
Donald C. Boyd                                                                $844.55                                               #1*
2093 Blue Horizon Drive
Morgantown, WV 26501-2050

Linda S. Cummins                                                               $933.90                                              #1*
2093 Blue Horizon Drive
Morgantown, WV 26501-2050

Lynn Gilmore                                                                   $888.87                                              #1*
9148 W. State Hwy. EE
Springfield, MO 65802
TOTALS                             $                                     $ 50,377.82


G    If applicable, restitution amount ordered pursuant to plea agreement $

G    The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 5, Part B may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     X the interest requirement is waived for the       X fine and/or restitution.
     G the interest requirement for the       G fine and/or         Grestitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
committed on or after September 13, 1994 but before April 23, 1996.
AO 245B    (Rev. 6/05) Amended Judgment in a Criminal Case
             Case
           Sheet 5B — 2:04-cr-20058-RTD
                       Criminal Monetary Penalties     Document 85     Filed 08/18/05 Page 6 of 8 PageID #: 6
                                                                                                   Judgment—Page      6     of           8
DEFENDANT:               MICHAEL RAYMOND JOHNSON
CASE NUMBER:             2:04CR20055-001 & 2:04CR20058-001

                                        ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority Order
                                                                   * Total                    Amount of                   or Percentage
Name of Payee                                                   Amount of Loss            Restitution Ordered              of Payment
                                                                                         In Case # 2:04CR20055-001
Marithia Gonzales                                                                                 $1,705.79                       #1 *
3928 Chesterwood Drive
Silver Spring, MD 20906

Shiloh Henry                                                                                        $302.95                       #1 *
P. O. Box 8262
Ft. Smith, AR 72902

Jamie Kay Wrenshall                                                                                  $300.00                      #1 *
6525 Hearthstone Dr.
Raleigh, NC 27615

Helene Lewis                                                                                         $462.60                     #1 *
8927 Fresno Ct.
Fort Smith, AR 72903

Leona Montero                                                                                      $1,400.00                      #1 *
177 21st St. #2F
Fond Du Lac, WI 54935

Jose` Morin                                                                                          $162.88                     #1 *
829 Camargo Way, Apt. 101
Altamonte Springs, FL 32714

Norma Nuss                                                                                           $630.00                     #1 *
Route 1, Box 218-A1
Bokoshe, OK 74930

Paul Phillips                                                                                      $1,674.58                     #1 *
20405 Runnymede St., Apt. 2146
Conoga Park, CA 91306

Jeannie Story                                                                                         $71.70                     #1 *
8909 Gate Nine Terrace
Fort Smith, AR 72916

Total Restitution Case # 2:04CR20055-001                                                           $9,377.82




         * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994 but before April 23, 1996.
AO 245B    (Rev. 6/05) Amended Judgment in a Criminal Case
             Case
           Sheet 5B — 2:04-cr-20058-RTD
                       Criminal Monetary Penalties     Document 85     Filed 08/18/05 Page 7 of 8 PageID #: 7
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DEFENDANT:               MICHAEL RAYMOND JOHNSON
CASE NUMBER:             2:04CR20055-001 & 2:04CR20058-001

                                        ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority Order
                                                               * Total                     Amount of                      or Percentage
Name of Payee                                               Amount of Loss             Restitution Ordered                 of Payment
                                                                                       In Case #2:04CR20058-001

Long Beach Mortgage                                                                             $41,000.00                       #2 *
Attn: Brett Atkinson
1400 South Douglass Rd.
Suite 100
Anaheim, CA 92086
Re: Loan #0044421352
Washington Mutual Bank

Total Restitution in Case #2:04CR20058-01                                                        $41,000.00


Total Combined Restitution in Both Cases                                                         $50,377.82




         * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994 but before April 23, 1996.
AO 245B    (Rev.Case    2:04-cr-20058-RTD
                 3/01) Amended                          Document 85
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           Sheet 6 — Criminal Monetary Penalties

                                                                                                         Judgment — Page     8      of       8
DEFENDANT:                 MICHAEL RAYMOND JOHNSON
CASE NUMBER:               2:04CR20055-001 & 2:04CR20058-001


                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            200.00              due immediately, balance due

          G not later than                                      , or
          X in accordance with        G C,       G D, or       X E below; or

B    G Payment to begin immediately (may be combined with               G C,         G D, or     G E below); or
C    G Payment in                      (e.g., equal, weekly, monthly, quarterly) installments of $                    over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in                    (e.g., equal, weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
          than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any unpaid financial
          penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than 10% of the
          defendant’s net monthly household income, but in no case less than $500.00 per month, with the entire balance to be paid in full one
          month prior to the termination of supervised release.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes a period of imprisonment, payment
of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless otherwise directed
by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant Name, Case Number, and Joint and Several Amount:

     Christi Johnson, Case No. 2:04CR20063-001 - $41,000.00



G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
